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                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA
                          :
MICA SAINT‐JEAN, et al.,  :
                          :
          Plaintiffs,     :
                          :
v.                        : Civil Action No. 08‐1769 (RWR/AK)
                          :
DISTRICT OF COLUMBIA, :
                          :
     Defendant.           :
                          :

         NOTICE WITHDRAWING MOTION FOR ATTORNEY’S FEES

      In light of the fact that the parties have settled Plaintiff Mica Saint-Jean’s

attorney’s fees claim and payment has now been made pursuant to that

settlement, Plaintiff files the following Notice withdrawing Motion for Attorney’s

Fees. Dkt No. 312.



Respectfully submitted,


/s/Richard Chaifetz
_______________________________
Richard Chaifetz, Esq., Bar No. 38414
6700 Columbia Gateway Drive, Suite 200
Columbia, MD 21046

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The Coyle Law Group
7061 Deepage Drive, Suite 101B
Columbia, MD 21045

Attorneys for Mica Saint-Jean

DATED:       October 31, 2018
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 31st day of October 2018, a copy of the

foregoing document was served as follows:

             Via the Court’s ECF system:

                   Martha Mullen
                   Office of the Attorney General for the District of Columbia
                   441 4th Street, N.W.
                   6th Floor South
                   Washington, D.C 20001

             Via Electronic Mail:

                    Guerline Bourciquot
                    14115 Bauer Drive
                    Rockville, MD 20853
                    mguerlou@yahoo.com



                                            /s/
                                       _________________________
                                       Michael P. Coyle




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